                Case 2:15-cr-00164-TLN Document 66 Filed 06/13/17 Page 1 of 3


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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-00164-TLN
12                                 Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                            v.                        FINDINGS AND ORDER
14   SECUNDINO ESQUIBEL ET AL.,                         DATE: March 9, 2017
                                                        TIME: 9:30 a.m.
15                                 Defendants.          COURT: Hon. Troy L. Nunley
16

17                                               STIPULATION

18         The United States of America, through its undersigned counsel, Ross K. Naughton, Assistant

19 United States Attorney, together with counsel for defendant Secundino Esquibel, Michael E. Hingle,

20 Esq.; counsel for defendant Oscar Gonzalez, Jesse Ortiz, III, Esq.; counsel for defendant Antonio

21 Gomez, Clemente Jimenez, Esq.; and counsel for defendant Moises Torres, Todd D. Leras, Esq., hereby

22 stipulate the following:

23         1.      By previous order, this matter was set for status on June 15, 2017.

24         2.      By this stipulation, the above-named defendants now move to continue the status

25 conference until July 27, 2017, at 9:30 a.m., and to exclude time between June 15, 2017, and July 27,

26 2017, under Local Code T4.

27         3.      The parties agree and stipulate, and request that the Court find the following:

28                 a)      The government has represented that the discovery associated with this case

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    1
      ORDER
             Case 2:15-cr-00164-TLN Document 66 Filed 06/13/17 Page 2 of 3


 1        includes over 900 pages of discovery and 3 video recordings. All of this discovery has been

 2        either produced directly to counsel and/or made available for inspection and copying.

 3                b)      Counsel for the above-named defendants desire additional time to review the

 4        discovery, conduct investigation, and interview potential witnesses.

 5                c)      Counsel for the above-named defendants believe that failure to grant the above-

 6        requested continuance would deny counsel the reasonable time necessary for effective

 7        preparation, taking into account the exercise of due diligence.

 8                d)      The government does not object to the continuance.

 9                e)      Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of June 15, 2017 to July 27, 2017,

14        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

15        because it results from a continuance granted by the Court at defendants’ request on the basis of

16        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

17        of the public and the defendant in a speedy trial.

18                                                [End of page.]

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
     ORDER
                 Case 2:15-cr-00164-TLN Document 66 Filed 06/13/17 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: June 12, 2017                                     PHILLIP A. TALBERT
 6                                                            United States Attorney
 7
                                                              /s/ ROSS K. NAUGHTON
 8                                                            ROSS K. NAUGHTON
                                                              Assistant United States Attorney
 9

10 Dated: June 12, 2017                                       /s/ MICHAEL E. HINGLE
                                                              MICHAEL E. HINGLE
11
                                                              Counsel for Defendant
12                                                            SECUNDINO ESQUIBEL

13 Dated: June 12, 2017                                       /s/ JESSE ORTIZ, III
                                                              JESSE ORTIZ, III
14                                                            Counsel for Defendant
                                                              OSCAR GONZALEZ
15

16 Dated: June 12, 2017                                       /s/ CLEMENTE M. JIMENEZ
                                                              CLEMENTE M. JIMENEZ
17                                                            Counsel for Defendant
                                                              ANTONIO GOMEZ
18
     Dated: June 12, 2017                                     /s/ TODD D. LERAS
19                                                            TODD D. LERAS
                                                              Counsel for Defendant
20
                                                              MOISES TORRES
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22
                                            FINDINGS AND ORDER
23
            IT IS SO FOUND AND ORDERED this 12th day of June, 2017.
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27                                                               Troy L. Nunley
                                                                 United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      3
      ORDER
